













Opinion issued July 31, 2008








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00088-CV
____________

WILLIAM A. CARRUTHERS AND PILGRIM’S PRIDE CORPORATION,
Appellants

V.

MIDCENTURY INSURANCE COMPANY OF TEXAS AS SUBROGEE OF
ALBERTO PEREZ AND ALBERT PEREZ, Appellee




On Appeal from the County Civil Court at Law No. 2
Harris County, Texas
Trial Court Cause No. 857484




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Bland.


